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                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                    )
                                             )
                       Plaintiff,            )
                                             )
               V.                            )       Case No. 22-
                                             )
$97,332.00 IN UNITED STATES                  )
CURRENCY, More or less,                      )
                                             )
                      Defendant.             )


                         COMPLAINT FOR FORFEITURE IN REM

       Plaintiff, United States of America, by and through its attorneys, Duston J. Slinkard, United

States Attorney for the District of Kansas, and Scott Anderson, Special Assistant United States

Attorney, brings this complaint and alleges as follows in accordance with Supplemental Rule 0(2)

of the Federal Rules of Civil Procedure:

                                    NATURE OF THE ACTION

       1.      This is an action to forfeit and condemn to the use and benefit of the United States

of America the following property: $97,332.00 in U.S. Currency, more or less (hereinafter

"defendant property"), for violations of 21 U.S.C. § 841.

                                    THE DEFENDANT IN REM

       2.      The defendant property consists of: $97,332.00 in United States currency, more or

less, that was seized by the Kansas Highway Patrol on or about February 20, 2022 during a

traffic stop of a 1998 Kia Sportage on US 54 near milepost 18 in Seward County, in the District

of Kansas. The currency is currently in the custody of the United States Marshal Service.
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                                 JURISDICTION AND VENUE

        3.     Plaintiff brings this action in rem in its own right to forfeit and condemn the

defendant property. This Court has jurisdiction over an action commenced by the United States

under 28 U.S.C. § 1345, and over an action for forfeiture under 28 U.S.C. § 1355.

        4.     This Court has in rem jurisdiction over the defendant property under 28 U.S.C.

1355(b). Upon filing this complaint, the plaintiff requests that the Court issue an arrest warrant in

rem pursuant to Supplemental Rule G(3 )(b ), which the plaintiff will execute upon the property

pursuant to 28 U.S.C. § 1355(d) and Supplemental Rule G(3)(c).

       5.      Venue is proper in this district pursuant to 28 U.S.C. § 1355(b)(l), because the

acts or omissions giving rise to the forfeiture occurred in this district and/or pursuant to 28

U.S.C. § 1395, because the defendant property is located in this district.

                                   BASIS FOR FORFEITURE

       6.      The defendant property is subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6)

because it constitutes 1) money, negotiable instruments, securities and other things of value

furnished or intended to be furnished in exchange for a controlled substance in violation of the

Controlled Substances Act; and/or 2) proceeds traceable to such an exchange; and/or 3) money,

negotiable instruments, and securities used or intended to be used to facilitate a violation of the

Controlled Substances Act.

       7.      Supplemental Rule G(2)(f) requires this complaint to state sufficiently detailed

facts to support a reasonable belief that the government will be able to meet its burden ofproof

at trial. Such facts and circumstances supporting the seizure and forfeiture of the defendant

property are contained in Exhibit A, which is attached hereto and incorporated by reference.
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                                      CLAIM FOR RELIEF

        WHEREFORE, the plaintiff requests that the Court issue a warrant for the arrest of the

defendant property; that notice of this action be given to all persons who reasonably appear to be

potential claimants of interests in the properties; that the defendant property be forfeited and

condemned to the United States of America; that the plaintiff be awarded its costs and

disbursements in this action; and for such other and further relief as this Court deems proper and

just.

        The United States hereby requests that trial of the above-entitled matter be held in the

City of Wichita, Kansas.

                                                      Respectfully submitted,

                                                      DUSTON J. SLINKARD
                                                      United States Attorney


                                                      SC~                 SON
                                                      Special Assistant United States Attorney
                                                      District of Kansas
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                                                      Ks. S. Ct. No. 26095




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                                        DECLARATION

       I, Chad Moore, Task Force Officer, Drug Enforcement Administration in the District of

Kansas.

       I have read the contents of the foregoing Complaint for Forfeiture, and the exhibit

thereto, and the statements contained therein are true to the best of my knowledge and belief.

       I declare under penalty of perjury that the foregoing is true and correct.

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                                                     TFO Chad
                                                     DEA




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                             AFFIDAVIT

   I, Chad Moore, being first duly sworn, depose and state:

1. Your affiant has been employed as a Kansas Highway Patrol (KHP)

  Trooper since July 2007 and has been cross designated as a DEA

  Task Force Officer since June 2020. My duties include

  investigation of violations of the Controlled Substance Act,

  Title 21 of the United States Code and the forfeiture thereto.

2. The information contained in this affidavit is known to your

  Affiant through personal direct knowledge, and/or through a

  review of official reports prepared by other law enforcement

  personnel. This affidavit is submitted in support of a forfeiture

  proceeding.

3. On February 20, 2022, Kansas Highway Patrol Trooper Cody Parr

  stopped a 1998 Kia Sportage for a traffic violation on westbound

  US 54 at milepost 18 in Seward County, in the District of Kansas.

  The vehicle was driven by Moises VELA-GAMON who said that he was

  travelling from Kansas City, KS to El Paso, TX.

4. During the event, Trooper Parr conducted a consensual search of

  the vehicle. Trooper Parr located $97,332.00 U.S. currency, in

  twelve bundles wrapped in saran wrap, soaked in blue liquid

  detergent, and hidden in a lead lined post manufactured

  compartment beneath the rear bench seat.

5. The currency was packaged and hidden consistent with drug

  proceeds that I have witnessed and investigated.
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   6. Later, at another location, a certified drug detection canine

     indicated to the odor of controlled substances emitting from the

     seized currency.

   7. Based upon the information set out above, Affiant has probable

     cause to believe that the $97,332.00 seized by the Kansas Highway

     Patrol constitutes money or other things of value furnished or

     intended to be furnished in e x change for a controlled substance,

     or proceeds traceable to such an exchange, or was used or

     intended to be used to facilitate one or more violations of Title

     21, U.S.C. § 841 et. seq. Accordingly, the property is subject to

     forfeiture pursuant to Title 21, U.S.C. § 853 and 881.




                                         DEA




Sworn to and subscribed before me this    lL_   day of    }I\Ov~



                                                      '   NOTARY PUBLIC • STATE OF KANSAS
My Commission Expires:   l\- \~-c9,DQS,                         MAYCIE CARMAN
                                                 "'         · MY APPT. EXPIRES NOV. 18, 2025
